      Case 6:12-cv-01305-MLB-KGG Document 1 Filed 08/23/12 Page 1 of 8




                              IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF KANSAS

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                                                                       )
(Enter above the full name of the Plaintiff(s)                         )
                                                                       )
vs.                                                                    )     Case Number: - - - - - -
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Name                               )
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Street and number                  )
GirlerFf Be;.) a Ks , 75' 3 0      )
City            State                  Zip Code                        )

(Enter above the full name and address of the
Defendant in this action - list the name and
address of any additional defendants on the back
side of this sheet).

                                                  CIVIL COMPLAINT

1.      Parties to this civil action:

        (In item A below, place your name in the first blank and place your present address in the
        second blank. Do the same for additional plaintiffs, if any, on an attached sheet of paper).

        A.      Name of plaintiff------YV'----'E~R_"____'_'e'______'>13"""____'_(-}.__'____'__'(l=__.LR=_f_=____<_.:rt~&'_'___ _ _ _ _ __

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        (In item B below, write the full name ofthe defendant in the first blank. In the second
        blank, write the official position of the defendant. Use item C for the names and positions
        of any additional defendants).

        B.      Defendant    M,' c A.e lie       ,ktl-f     S'~ (L                               IS


                employed at~MJ ()- ()      f11-e /1... tC 14   }11rJ.ll.id9..e meN'" 1)5 PIl(Jf<t1-r'7   fI1ANAJi!I2..


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        C.     Additional Defendants - - -




II.     Jurisdiction:

        (Complete one or more of the following subparagraphs, A., B.l, B.2., or B.3., whichever
        is applicable.)

        A.     (If Applicable) Diversity of citizenship and amount:

                1.      Plaintiff is a citizen ofthe State

               2.       The first-named defendant above is either

                        a.     a citizen of the State       _ _ _ _ _ _,·or



                        b.      a corporation incorporated under the laws of the State of
                        _ _ _ _ _ _ and having its principal place of business in a State other
                        than the State of which plaintiff is a citizen.

               3.       The second-named defendant above is either

                        a.     a citizen ofthe State        _ _ _ _ _ _,·or

                        b.      a corporation incorporated under the laws of the State of
                        _ _ _ _ _ _ and having its principal place of business in a State
                        other than the State of which plaintiff is a citizen.

               (If there are more than two defendants, set forth the foregoing information for

                                                   2
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                each additional defendant on a separate page and attach it to this complaint.)

                Plaintiff states that the matter in controversy exceeds, exclusive of interest and
                costs, the sum of seventy-five thousand dollars ($75,000.00).

         B.     (If applicable) Jurisdiction founded on grounds other than diversity (Check any
                of the following which apply to this case).

                                This case arises under the following section of the Constitution of
                                the United States or statute of the United States (28 U.S.c. § 1331):
                                Constitution, Article_ _, Section_ _
                                Statute, US Code, TitlellLL, Section~

                       2.       This case arises because of violation of the civil or equal rights,
                                privileges, or immunities accorded to citizens of, or persons within
                                the jurisdiction of, the United States (28 U.S.C. § 1343).


                +-3.            Other grounds (specify and state any statute which gives rise to
                                such grounds):




III.     Statement of Claim:

         (State here a short and plain statement of the claim showing that plaintiff is entitled to
         relief. State what each defendant did that violated the right(s) of the plaintiff, including
         dates and places of such conduct by the defendant( s). Do not set forth legal arguments.
         If you intend to allege more than one claim, number and set forth each claim in a separate
         paragraph. Attach an additional sheet, if necessary, to set forth a short and plain
         statement of the c1aim[s].)

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                                                            Additional Information




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IV.      Relief:

         (State briefly exactly what judgement or relief you want from the Court. Do not make
         legal arguments.)




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V.       Do you claim the wrongs alleged in your complaint are continuing to occur at the present
         time? Yes IXf No [ ]

VI.      Do you claim actual damages for the acts alleged in your complaint?             Yes M      No [ ]

VII.     Do you claim punitive monetary damages? Yes            t><l'   No [ ]

         If you answered yes, state the amounts claimed and the reasons you claim you are
         entitled to recover money damages.




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VIII.   Administrative Procedures:

        A.     Have the claims which you make in this civil action been presented through any
               type of Administrative Procedure within any government agency? Yes [ ] No                       M
        B.     If you answered yes, give the date your claims were presented, how they
               were presented, and the result of that procedure:




        C.     If you answered no, give the reasons, if any, why the claims made in this action
               have not been presented through Administrative Procedures:




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IX.     Related Litigation:

        Please mark the statement that pertains to this case:

                       This cause, or a substantially equivalent complaint, was previously filed in
                       this court as case number                    and assigned to the
                       Honorable Judge _ _ _ _ _ _ _ _ _ _ __

                       Neither this cause, nor a substantially equivalent complaint, previously
                       has been filed in this court, and therefore this case may be opened as an
                       original proceeding.                 f)/      ~. .,,-'1'/1;:;"-'"
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                                                                        City           State           Zip Code


                                                                        Telephone Number


                                     DESIGNATION OF PLACE OF TRIAL



Plaintiff designates ip.!.'--'-"'-''-'-'-'''''''---.J.....I.!..!o=~=L------'''-'-----J.~T~o~e=ka'''--, Kansas as the location for the
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trial in this matter.
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                                         REQUEST FOR TRIAL BY JURY



Plaintiff requests trial by jury Dyes                 IKfno .
                                            (check one)




Dated: <;?-     20-1/2­
(Rev. 8/07)




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